         Case 1:22-cv-04066-BMC Document 3 Filed 07/12/22 Page 1 of 2 PageID #: 25

                                   UNITED STATES DISTRICT COURT
                                                 FOR THE
                                   EASTERN DISTRICT OF NEW YORK
Brenna Mahoney                                                           Theodore Roosevelt Federal Courthouse
Clerk of Court                                                               Emanuel Cellar Federal Courthouse
August Marziliano                                                                            225 Cadman Plaza East
                                                                                                Brooklyn, NY 11201
Chief Deputy                                                                                        (718) 613‐2270

Michael Kramer                                                              Alfonse D’Amato Federal Courthouse
Chief Deputy                                                                                      100 Federal Plaza
                                                                                              Central Islip, NY 11722
                                                                                                     (631) 712-6030



                                                NOTICE
                 In accordance with Rule 73 of the Federal Rules of Civil Procedure and Local Rule

     73.1, the parties are notified that if all parties consent a United States magistrate judge of

     this court is available to conduct all proceedings in this civil action (including a jury or nonjury

     trial) and to order the entry of a final judgment. You may consent to the magistrate judge who

     has been assigned to this case or to a new magistrate judge selected at random. Attached is a

     blank copy of the consent form that should be signed and filed electronically only if all parties

     wish to consent and it is signed by all parties. A consent form may also be accessed at the

     following link: http://www.uscourts.gov/uscourts/FormsAndFees/Forms/AO085.pdf

                 You may withhold your consent without adverse substantive consequences.

                 Do NOT return or file the consent unless all parties have signed the consent.
             Case 1:22-cv-04066-BMC Document 3 Filed 07/12/22 Page 2 of 2 PageID #: 26
AO 85 (Rev. ('1< Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                        UNITED STATES DISTRICT COURT
                                                                          for the
                                               EASTERN DISTRICT OF NEW YORK
                                                                              )
                                Plaintiff                                     )
                                   v.                                         )     Civil Action No.
                                                                              )
                               Defendant                                      )



           NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

         Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct all
proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment may
then be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate judge may
exercise this authority only if all parties voluntarily consent. You may consent to the magistrate judge assigned to this case or
 to a new magistrate judge selected at random.

        You may consent to have your case referred to a magistrate judge, or you may withhold your consent without adverse
substantive consequences. The name of any party withholding consent will not be revealed to any judge who may otherwise
be involved with your case.


       Consent to a magistrate judge’s authority. The following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.
Select one: The parties consent to ___ the magistrate judge who is assigned to this case
                                   ___ a new magistrate judge selected at random.
             Parties’ printed names                                   Signatures of parties or attorneys                         Dates




             In order for the Consent to be valid, all parties must sign this form and agree to the selection of the magistrate judge.
                                                                   Reference Order

        IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and
order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.



Date:
                                                                                                    District Judge’s signature



                                                                                                     Printed name and title

Note:'RQRWUHWXUQWKHIRUPWRWKH&OHUNRI&RXUWRUILOHLWRQ(&)XQOHVVDOOSDUWLHVKDYHconsentHG to the exercise of
         jurisdiction by a United States Magistrate Judge. Do not return this form to a Judge.
